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                     EXHIBIT 1
                    Declaration of
                   Adam Silverman
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               1                                    UNITED STATES DISTRICT COURT
               2                                         DISTRICT OF NEVADA

               3     AMA MULTIMEDIA, LLC, a Nevada                         Case No.: 2:15-cv-01673-JCM-GWF
                     limited liability company,
               4
                                      Plaintiff,                           DECLARATION OF
               5                                                           ADAM SILVERMAN
               6     v.

               7     BORJAN SOLUTIONS, S.L. d/b/a
                     SERVIPORNO, a Spanish company; and
               8     BORJAN MERA URRESTARAZU,
                     an individual,
               9
              10                      Defendants.

              11
              12              I, ADAM SILVERMAN, being over 18 years of age and competent to testify about the

              13     matters contained in this declaration, state as follows:

              14              1. I am a Managing Member of AMA Multimedia, LLC (“AMA”), Plaintiff in above-

              15                  captioned case. I have personal knowledge of the truth of the statements made herein.

              16              2. When AMA produces a work for distribution, whether through its own websites or

              17                  through a licensing agreement, AMA’s videos are affixed with AMA’s trademarks for

              18                  identification and branding purposes.

              19              3. In the regular course of business, AMA registers its trademarks with the United States

              20                  Patent and Trademark Office.

              21
              22              I declare to under penalty of perjury under the laws of the United States of America that

              23     the foregoing is true and correct.

              24              Executed on 2/8/2016
                                          _______________ (date) at ___________________________
                                                                     Miami, FL                  (city, state).

              25
              26                                                                      Adam Silverman
              27
                                                                          -1-
                                                             Declaration of Adam Silverman
                                                               2:15-cv-01673-JCM-GWF
